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   Transcript of Leigh Rothschild
                              Date: December 22, 2022
            Case: Digital Verification Systems, LLC -v- Encyro, Inc.




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                WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
                                                                                                                                                Transcript of Leigh Rothschild                                            1 (1 to 4)

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                                                                                                                                                     December 22, 2022
                                                                                                                                                         1                                                                             3
                                                                                     1                   IN THE UNITED STATES DISTRICT COURT                   1                                  INDEX                PAGE
                                                                                     2               FOR THE CENTRAL DISTRICT OF CALIFORNIA                    2    WITNESS - LEIGH ROTHSCHILD                             4
                                                                                                                                                                    EXAMINATION BY MS. LAMKIN                              7
                                                                                     3    DIGITAL VERIFICATION SYSTEMS,                                        3    REPORTER'S CERTIFICATE                                47

                                                                                     4    LLC,                                                                 4                                 EXHIBITS

                                                                                     5           Plaintiff,                       Case No.                     5    Exhibit 1      Declaration of Leigh M.                   7
                                                                                                                                                                                 Rothschild in Support of
                                                                                     6    v.                                      5:22-cv-00686-JWH-SP         6                 Plaintiff's Opening Claim
                                                                                                                                                                                 Construction Brief
                                                                                     7    ENCYRO, INC.,                                                        7
                                                                                                                                                                    Exhibit 2      U.S. Patent No. 9,054,860              11
                                                                                     8           Defendant.                                                    8
                                                                                                                                                                    Exhibit 3      Non-provisional Utility                14
                                                                                     9    ______________________________                                       9                 Patent Application Transmittal
                                                                                                                                                                                 Letter, U.S. PTO 12/006457
                                                                                                                                                               10
                                                                                     10                          D E P O S I T I O N                                Exhibit 4      Amendment PxHx                         16
                                                                                                                                                               11
                                                                                     11                                     o f
                                                                                                                                                               12
                                                                                     12                           LEIGH ROTHSCHILD,
                                                                                                                                                               13                  REPORTER'S KEY TO PUNCTUATION:
                                                                                     13                      taken on behalf of Defendant
                                                                                                                                                               14        --     At end of question or answer references
                                                                                     14
                                                                                                 DATE:             December 22, 2022                           15               interruption.
                                                                                     15
                                                                                                 TIME:             4:03 p.m. to 5:02 p.m. EDT                  16        ...     References a trail-off by the speaker.
                                                                                     16
                                                                                                 PLACE:            - REMOTE -
                                                                                     17                                                                        17                No testimony omitted.
                                                                                                 BEFORE:           Dawn A. Hillier, RMR, CRR
                                                                                     18                            Stenographic Reporter                       18        "Uh-huh" "Um-hum" References affirmative sound.
                                                                                                                   Notary Public - State of
                                                                                     19                            Maryland, at Large                          19        "Huh-uh" "Um-um"       References negative sound.

                                                                                     20          JOB NO:           475803                                      20

                                                                                     21                                                                        21

                                                                                     22                                                                        22

                                                                                     23                                                                        23

                                                                                     24                                                                        24

                                                                                     25                                                                        25



                                                                                                                                                         2                                                                             4
                                                                                     1    APPEARANCES:       ALL PARTIES ATTENDING REMOTELY                    1            LEIGH ROTHSCHILD,
                                                                                     2                                                                         2 was called as a witness and, having first been duly
                                                                                     3    ON BEHALF OF PLAINTIFF:                                              3 sworn, was examined and testified as follows:
                                                                                     4           SHEA PALAVAN, ESQUIRE                                                THE WITNESS: Yes, I do.
                                                                                                 PALAVAN & MOORE, PLLC                                         4
                                                                                     5           5353 West Alabama Street, Suite 303
                                                                                                 Houston, TX 77056                                             5      STENOGRAPHIC REPORTER: Thank you.
                                                                                     6           713.398.1894
                                                                                                 shea@houstonip.com                                            6      MR. PALAVAN: All right. Before we get
                                                                                     7
                                                                                                                                                               7   started, I just want to put on the record that we
                                                                                     8    ON BEHALF OF DEFENDANT:
                                                                                     9           RACHAEL D. LAMKIN, ESQUIRE
                                                                                                                                                               8   do have a hard stop at 5:00 Eastern time for
                                                                                                 LAMKIN IP DEFENSE                                             9   Mr. Rothschild. He has other commitments.
                                                                                     10          One Harbor Drive, Suite 300
                                                                                                 Sausalito, CA 95965                                                  But with that said, I will turn it to defense
                                                                                     11          916.747.6091                                                  10
                                                                                                 rdl@lamkinipdefense.com
                                                                                     12                                                                        11 counsel to begin.
                                                                                     13   ALSO PRESENT:                                                        12     MS. LAMKIN: I just want to state for the
                                                                                               James Hughes
                                                                                     14        Shegaw Mekonen, Planet Depos technician                         13 record, we were not informed that Mr. Rothschild
                                                                                     15                                                                        14 was granting a mere one-hour deposition for his
                                                                                     16                                                                        15 late-filed declaration.
                                                                                     17                                                                        16     Is that true, Mr. Palavan, that you did not
                                                                                     18                                                                        17 inform me that Mr. Rothschild would only be sitting
                                                                                     19
                                                                                                                                                               18 for an hour?
                                                                                     20
                                                                                                                                                               19     MR. PALAVAN: If I did not, that's correct.
                                                                                     21
                                                                                                                                                               20     MS. LAMKIN: You did not.
                                                                                     22
                                                                                                                                                               21     MR. PALAVAN: Okay. I can't argue with your
                                                                                     23
                                                                                                                                                               22 assertions, but yes.
                                                                                     24
                                                                                                                                                               23     THE WITNESS: For the record, I informed
                                                                                     25
                                                                                                                                                               24 Mr. Palavan numerous times, both in writing and
                                                                                                                                                               25 orally.
                                                                                                                                                   PLANET DEPOS
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                                                                                                                                  Transcript of Leigh Rothschild                               2 (5 to 8)

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                                                                                                                                       December 22, 2022
                                                                                                                                              5                                                                7
                                                                                     1     MR. PALAVAN: Correct.                                  1     that is what you -- if that is what is allowed by
                                                                                     2     MS. LAMKIN: Okay. I just -- I want you to              2     the court, or the rules, or the rules. So I would
                                                                                     3 understand the gravity of this, Mr. Rothschild.            3     make additional time available. So let's make that
                                                                                     4 Your declaration was not properly disclosed. Just          4     clear.
                                                                                     5 a minute. I can't see you. Let me get...                   5        MS. LAMKIN: Mr. Rothschild, there is no more
                                                                                     6     Your declaration was not properly disclosed            6     time because our responsive claim construction
                                                                                     7 under the scheduling order, and, therefore, I              7     brief is due tomorrow.
                                                                                     8 offered them a choice, your counsel a choice,              8        Nonetheless, I have advised you of the
                                                                                     9 either withdraw your declaration or offer you for          9     potential outcome for your cutting off the
                                                                                     10 deposition, so that we could ameliorate the               10 deposition before I'm actually able to question you
                                                                                     11 prejudice my client is suffering because we had no        11 about the contents of your declaration.
                                                                                     12 knowledge, under the court's scheduling order, that       12       Now, let's get to the contents of your
                                                                                     13 you would be submitting a declaration.                    13 declaration.
                                                                                     14 Your counsel, a mere two days ago, offered you            14               EXAMINATION
                                                                                     15 up for deposition, questions about your 18-page           15       (Exhibit 1 was marked.)
                                                                                     16 declaration, because, again, it was not disclosed.        16 BY MS. LAMKIN:
                                                                                     17 I just want you to understand, Mr. Rothschild,            17 Q I have marked as Exhibit 1 -- you've only
                                                                                     18 that if you end this deposition before I'm allowed        18 given me now 50 minutes, Mr. Rothschild, so let me
                                                                                     19 to fully depose you as to the contents of your            19 proceed. I have marked as Exhibit 1 a document, docket
                                                                                     20 late-filed declaration, that it will be excluded          20 31-4, the Declaration of Leigh Rothschild in Support of
                                                                                     21 under the local rules and under the court's               21 Plaintiff's Opening Claim Construction Brief.
                                                                                     22 scheduling order.                                         22       Can you please reference Exhibit 1,
                                                                                     23 So this is completely your decision,                      23 Mr. Rothschild?
                                                                                     24 Mr. Rothschild. If you choose to end the                  24 A I have the declaration printed out in front of
                                                                                     25 deposition in an hour, and now 54 minutes, it's           25 me, Ms. Lamkin.
                                                                                                                                              6                                                                8
                                                                                     1 highly likely the court will exclude your                  1     Q Okay. Do you recognize this document,
                                                                                     2 deposition -- your declaration.                            2 Mr. Rothschild?
                                                                                     3      Do you understand that?                               3     A I do. But Exhibit 1 is not shown -- for the
                                                                                     4      THE WITNESS: I understand, Ms. Lamkin, that           4 record, Ms. Lamkin, Exhibit 1 is not being shown on the
                                                                                     5 you're not a judge, you're not a federal judge,            5 screen. So I only have a document in front of me that's
                                                                                     6 you're an attorney for the other side. Your                6 not marked Exhibit 1, but I printed it before the
                                                                                     7 statements are taken, not necessarily -- not               7 deposition, that's marked as my declaration. But
                                                                                     8 necessarily correct. I rely on my counsel. I               8 there's no documents on the screen, as well as reported
                                                                                     9 don't know anything about exclusion or what the            9 that there would be -- I thought it was reported that
                                                                                     10 court will do. Your statements are conjecture, it         10 there would be before the -- okay. So now the document
                                                                                     11 seems to me, at this time.                                11 is on the screen.
                                                                                     12 I did inform counsel, both orally and in                  12       So please don't ask me, Ms. Lamkin, about
                                                                                     13 writing, that I would be available only for an hour       13 documents that are not on the screen, to reference them.
                                                                                     14 for this -- for this deposition. I'd be more than         14 I will point out when they're not.
                                                                                     15 happy to reschedule and give you additional time,         15 Q Mr. Rothschild, as with standard practice, and
                                                                                     16 if that's what the court provides.                        16 as we did last time in the deposition, the exhibits were
                                                                                     17 If you're allowed to have additional time, I              17 placed in the Chat. It is in your Chat on your Zoom.
                                                                                     18 want to state on the record that there would be           18       Now, again, please do not be argumentative on
                                                                                     19 additional time made before the hearing, which I          19 the record. I have limited time.
                                                                                     20 believe is in January.                                    20       Do you recognize the document marked as
                                                                                     21 So I don't know anything about exclusion, and             21 Exhibit 1?
                                                                                     22 your statements do not seem to be correct to me.          22 A I do.
                                                                                     23 But I'm not a judge, nor are you. So I just want          23 Q What is it?
                                                                                     24 to state again, for the record, for the record,           24 A And for the record, I'm not being
                                                                                     25 that I'm more than happy to be deposed again if           25 argumentative. That's your opinion, not mine.
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                                                                                                                                  Transcript of Leigh Rothschild                                3 (9 to 12)

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                                                                                                                                       December 22, 2022
                                                                                                                                               9                                                           11
                                                                                     1         It is, as it states, the Declaration of Leigh         1 have a lag in the documents on the screen versus your
                                                                                     2  Rothschild     in Support of the Plaintiff's Opening Claim   2 statements.
                                                                                     3 Construction Brief.                                           3     Q Mr. Rothschild, to save time, I was just
                                                                                     4      Q Okay. Would you please look at paragraph one?          4 reading into the record. There's no document on the
                                                                                     5 I'll read the line into the record. It says [as read]:        5 screen. I'll now offer it. I'm offering as Exhibit 2
                                                                                     6 I make this declaration based upon my personal                6 patent number 9,054,860.
                                                                                     7 knowledge.                                                    7        MS. LAMKIN: If the technician could please
                                                                                     8         Do you see that statement, Mr. Rothschild?            8     turn Exhibit 2 to the first page after the figures.
                                                                                     9      A I do.                                                  9     That would be page 11, please. Thank you.
                                                                                     10 Q What does that mean?                                       10       (Exhibit 2 was marked.)
                                                                                     11 A I make this declaration based on my                        11 BY MS. LAMKIN:
                                                                                     12 personal -- it means what it says, Ms. Lamkin.               12 Q So, Mr. Rothschild, you see where it says
                                                                                     13 Q Do you have an understanding of what that                  13 field of invention, Column 1, line six?
                                                                                     14 means, Mr. Rothschild?                                       14 A I'm looking, Ms. Lamkin.
                                                                                     15 A Yes, ma'am. It means what it says.                         15       I see field of invention. Line six. Could
                                                                                     16 Q That the facts stated in your declaration are              16 you give me the first word of that sentence, please?
                                                                                     17 facts that you've personally verified? Do you                17 Q "The present specification."
                                                                                     18 understand that?                                             18 A Yes. I see it now.
                                                                                     19 A It means what it says, Ms. Lamkin.                         19 Q Okay. What is your experience -- or what was
                                                                                     20 Q I'm going to give you one last opportunity to              20 your experience in the field of invention in 2008?
                                                                                     21 answer the question that I'm asking. What is your            21 A In 2008, I was an inventor of various patents,
                                                                                     22 understanding of the meaning of that statement, "I make      22 also a technical advisor to various entities.
                                                                                     23 this declaration based on my personal knowledge"?            23 Q I'm asking specifically about the field of
                                                                                     24 A It means, and I quote, "I make this                        24 invention for this patent, the patent-in-suit. As to
                                                                                     25 declaration based on my personal knowledge, and, if          25 the specific field of invention for the '860 patent,
                                                                                                                                               10                                                          12
                                                                                     1 called to testify to the truth of the matters set forth       1 what was your experience in 2008?
                                                                                     2 herein, could and do so competently."                         2     A I had knowledge of the art.
                                                                                     3      Q If you could please turn to paragraph three in         3     Q Please explain that in depth.
                                                                                     4 Exhibit 1. I'll read it into the record.                      4     A I had knowledge of the art. That's my
                                                                                     5          "I understand that Plaintiff contends that, at       5 explanation. I had knowledge of the art.
                                                                                     6  least at the time of the filing and prosecution of the       6     Q What knowledge of the art did you have, sir?
                                                                                     7 '860 patent, a POSITA of the subject matter claimed by        7     A Knowledge of the way digital verification
                                                                                     8 the Patent-in-Suit is a person having a bachelor's            8 works.
                                                                                     9 degree in computer science or electrical engineering."        9     Q How did you obtain that knowledge?
                                                                                     10         Mr. Rothschild, do you have a bachelor's             10 A By research.
                                                                                     11 degree in computer science or electrical engineering?        11 Q Can you please expand on that?
                                                                                     12 A I do not.                                                  12 A No, I can't. It's many years ago. I cannot
                                                                                     13 Q Okay. I'm going to read into the record the                13 expand on it. I had knowledge of the art. I had been,
                                                                                     14 field of invention in the '860 patent. I am reading          14 previously, a prolific and accomplished inventor. I had
                                                                                     15 from the '860 patent, Column 1, line six, Field of the       15 represented and given technical support to various
                                                                                     16 Invention. It says, "The present specification is            16 entities, and I had knowledge of this art.
                                                                                     17 generally directed to a digital verified identification      17 Q At this time, sitting in this deposition, you
                                                                                     18 system and method having at least one digital                18 cannot recall the specifics of your experience in the
                                                                                     19 identification module structured to be embedded or           19 field of the art for the '860 patent?
                                                                                     20 otherwise disposed within one or more electronic files."     20 A I cannot recall it with specificity.
                                                                                     21         Mr. Rothschild, what was your experience in          21 Q Okay. Thank you, Mr. Rothschild.
                                                                                     22 the field of invention at the time of invention, 2008?       22        Mr. Rothschild, if you could please, turning
                                                                                     23 A Ms. Lamkin, the part you quoted was not on the             23 back  to Exhibit 1.
                                                                                     24 screen, one more time. The document you're referencing       24 A The document is lagging behind one more time,
                                                                                     25 is not in front of me, nor on the screen. We seem to         25 Ms. Lamkin.
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                                                                                                                               Transcript of Leigh Rothschild                              4 (13 to 16)

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                                                                                                                                    December 22, 2022
                                                                                                                                           13                                                          15
                                                                                     1     Q Give him a moment, Mr. Rothschild. The             1 non-provisional utility patent application transmittal
                                                                                     2  technician  has to move to Exhibit 1.                   2 letter.
                                                                                     3     A Ms. Lamkin, you need to give him a moment as       3         If you scroll down, if the document person
                                                                                     4 you ask the questions.                                   4 could scroll down for me, please.
                                                                                     5     Q If you could please look at paragraph five,        5         Signed by James Wetterling and Jennie Malloy,
                                                                                     6 Mr. Rothschild.                                          6 or one of the two attorneys, for the applicant.
                                                                                     7     A It's now on the screen, Ms. Lamkin.                7         MS. LAMKIN: If you could ask the technician
                                                                                     8     Q Do you see in paragraph five where you quote       8      to please turn to page 42. That's 42 on the pdf.
                                                                                     9 the prosecution history of the '860 patent?              9         Thank you.
                                                                                     10 A Yes, ma'am.                                           10 BY MS. LAMKIN:
                                                                                     11 Q Okay. Did you review personally the                   11 Q Mr. Rothschild, is that your signature on --
                                                                                     12 prosecution history of the '860 patent as part of       12 A It is.
                                                                                     13 drafting this declaration?                              13 Q Just a moment, please.
                                                                                     14 A I'll have to read paragraph five.                     14        Mr. Rothschild, is that your signature on page
                                                                                     15        I had previously reviewed. To answer your        15 42 of Exhibit 3?
                                                                                     16 question, yes.                                          16 A It is.
                                                                                     17 Q Yes, you reviewed the prosecution history of          17 Q Okay. Do you see above your signature where
                                                                                     18 the '860 patent as part of drafting your declaration    18 it says [as read]: I hereby declare that all statements
                                                                                     19 that is Exhibit 1?                                      19 made herein of my knowledge are true and that all
                                                                                     20 A I had reviewed it previously.                         20 statements made of information and belief are believed
                                                                                     21 Q So the discussion of the prosecution history          21 to be true?
                                                                                     22 in your declaration is from memory?                     22        Do you see that, sir?
                                                                                     23 A I don't understand the question.                      23 A I do.
                                                                                     24 Q Did you review the prosecution history of the         24 Q Is this the kind of declaration that you
                                                                                     25 '860 patent while drafting your declaration?            25 submit in the prosecution history of a patent?
                                                                                                                                           14                                                          16
                                                                                     1     A I had reviewed it previously, as I just            1     A I don't quite understand the question.
                                                                                     2 testified.                                               2     Q Do you --
                                                                                     3     Q When did you review the prosecution history        3     A Let me -- sorry. If I could finish.
                                                                                     4 previously?                                              4       I'm not a patent attorney, nor an attorney,
                                                                                     5     A I don't remember with specificity.                 5 Ms. Lamkin, so I don't understand what your question is.
                                                                                     6     Q Was it within a year?                              6 If you're asking me for a legal opinion, I would defer
                                                                                     7     A I don't remember with specificity.                 7 to counsel, to patent counsel.
                                                                                     8     Q It could be more than a year prior?                8     Q Do you recognize this document,
                                                                                     9     A I don't remember with specificity.                 9 Mr. Rothschild?
                                                                                     10        MS. LAMKIN: I'm going to mark as Exhibit 3 a     10 A I see it now. I see it with my signature.
                                                                                     11 document bearing Bates range DVSENC_17 to 61.           11 Q The question was: Do you recognize this
                                                                                     12        (Exhibit 3 was marked.)                          12 document, Mr. Rothschild?
                                                                                     13 BY MS. LAMKIN:                                          13 A I recognize it as a document that I signed,
                                                                                     14 Q Mr. Rothschild, have you seen Exhibit 3               14 Ms. Lamkin.
                                                                                     15 before?                                                 15 Q Okay. In general, do you make an effort to
                                                                                     16 A I need time to look at it. It just appeared           16 make truthful statements to the USPTO during the
                                                                                     17 on the screen, Ms. Lamkin.                              17 prosecution of your patents?
                                                                                     18        I don't really know if I've seen this with       18 A Absolutely and unequivocally.
                                                                                     19 specificity. I don't remember.                          19      MS. LAMKIN: I'm going to mark as Exhibit 4 a
                                                                                     20 Q You don't remember if you've seen Exhibit 3?          20 document bearing Bates range DVSENC_166 to 191.
                                                                                     21 A Do not.                                               21      (Exhibit 4 was marked.)
                                                                                     22 Q Okay. Do you generally recognize the document         22 BY MS. LAMKIN:
                                                                                     23 as a prosecution history document?                      23 Q Do you recognize this document,
                                                                                     24 A I don't identify it any way except the                24 Mr. Rothschild?
                                                                                     25 document that's on the screen. As it states, it is a    25 A I see a document on the screen.
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                                                                                                                                 Transcript of Leigh Rothschild                                    5 (17 to 20)

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                                                                                                                                      December 22, 2022
                                                                                                                                              17                                                                  19
                                                                                     1     Q Sir, my question is: Do you recognize the               1 I'm going to read the language starting "Therefore,
                                                                                     2  document?                                                    2 properly construed."
                                                                                     3     A Not with specificity.                                   3      A Ms. Lamkin, I'll need to see the full page
                                                                                     4     Q Okay. Do you see the application number                 4 number. I have no idea what page you're on. The
                                                                                     5 12/006,457?                                                   5 document's not showing it in the entirety, for the
                                                                                     6     A Yes, I do.                                              6 record.
                                                                                     7        MS. LAMKIN: Okay. If we could please pull up           7      Q It is, sir. It is showing in its entirety.
                                                                                     8     Exhibit 2, which is the '860 patent, the first            8      A I don't see a page number, for the record,
                                                                                     9     page?                                                     9 Ms. Lamkin.
                                                                                     10 BY MS. LAMKIN:                                               10 Q The technician is circling the page number for
                                                                                     11 Q Do you see the application number here,                    11 you on the screen.
                                                                                     12 Mr. Rothschild, 12/006,457?                                  12 A I can't see that.
                                                                                     13 A I do.                                                      13        Okay. I see it now.
                                                                                     14 Q Do you see that the application number on the              14     Q   Okay.
                                                                                     15 face of the asserted '860 patent is the same as the          15 A It was a lag, for the record.
                                                                                     16 application number on Exhibit 4?                             16 Q I'm reading the last line on the first page.
                                                                                     17 A I'd have to go back to Exhibit 4, wouldn't I?              17 It says, "Therefore, properly construed, the claimed
                                                                                     18       MS. LAMKIN: If we could please go back.                18 'module generating assembly' must include hardware."
                                                                                     19       THE WITNESS: I do.                                     19        Do you see that line, sir?
                                                                                     20       MS. LAMKIN: Thank you.                                 20     A   I do.
                                                                                     21 BY MS. LAMKIN:                                               21 Q Is that the truth?
                                                                                     22 Q So that's the same application -- Exhibit 4 is             22 A I don't understand the question.
                                                                                     23 the same application number as the asserted '860 patent?     23 Q This was a statement submitted on your behalf
                                                                                     24 A It appears to be.                                          24 to the United States Patent and Trademark Office. Is it
                                                                                     25       MS. LAMKIN: Okay. If we could please turn to           25 a true statement?
                                                                                                                                              18                                                                  20
                                                                                     1     page 14 of the pdf on this document.                      1     A It is a statement that was submitted in the
                                                                                     2        Actually, for context, please, if we could             2 application, Ms. Lamkin.
                                                                                     3     return to the first page of Exhibit 4? Thank you.         3     Q Sir, my question is this: Is it a true
                                                                                     4 BY MS. LAMKIN:                                                4 statement?
                                                                                     5     Q Do you see where it says, "The following                5     A It is a statement as was submitted in the
                                                                                     6  Amendment     and Remarks are submitted in response to the   6  application.
                                                                                     7 Office Action dated February 1, 2011"?                        7     Q Sir, it's a yes-or-no question. Is it a
                                                                                     8        Do you see that, Mr. Rothschild?                       8 true --
                                                                                     9     A I do.                                                   9     A I've given you -- I've given you my answer,
                                                                                     10 Q Do you have an understanding of what that                  10 Ms. Lamkin.
                                                                                     11 means?                                                       11 Q Okay. I'll give you one more opportunity to
                                                                                     12 A I do.                                                      12 respond to my question.
                                                                                     13 Q What does it mean?                                         13 A It is a statement that was submitted in the
                                                                                     14 A It means the following amendment and remarks               14 application, Ms. Lamkin. It doesn't need --
                                                                                     15 are submitted in response to the office action dated         15 Q Thank you, Mr. Rothschild.
                                                                                     16 February 1st, 2011.                                          16 A It doesn't -- for the record, it does not need
                                                                                     17 Q Do you understand that the applicant, that is              17 interpretation.
                                                                                     18 you, is submitting amendment and remarks to the USPTO?       18        MS. LAMKIN: If we could please return to
                                                                                     19 A Through counsel, the amendment was submitted,              19 Exhibit 1. Please go to paragraph 21.
                                                                                     20 I believe.                                                   20        THE WITNESS: What exhibit are we on?
                                                                                     21 Q So you understand that this is an amendment                21 BY MS. LAMKIN:
                                                                                     22 submitted by applicant in the prosecution history of the     22 Q Exhibit 1, page 21. This is your declaration,
                                                                                     23 '860 patent; correct?                                        23 sir, that you submitted in this matter. Do you see
                                                                                     24 A I do.                                                      24 paragraph 21, Mr. Rothschild?
                                                                                     25 Q Okay. If we could now please turn to page 14.              25 A I do.
                                                                                                                                    PLANET DEPOS
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                                                                                                                                 Transcript of Leigh Rothschild                               6 (21 to 24)

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                                                                                                                                      December 22, 2022
                                                                                                                                             21                                                           23
                                                                                     1     Q At the bottom of page 10, lines 27 to 28, you         1     A I believe it would be the term to be construed
                                                                                     2  write "including that the module generating assembly may   2  by the court, as listed in the affidavit, which is the
                                                                                     3 be, inter alia, a computer application or a web server      3 declaration of Leigh Rothschild in support of the
                                                                                     4 running on a device."                                       4 Plaintiff's Opening Claim Construction Brief, as you
                                                                                     5        Do you see that, sir?                                5 defined it, Exhibit 1.
                                                                                     6     A I do.                                                 6     Q I'll give you one more opportunity to answer
                                                                                     7     Q Is that a true statement?                             7 the question, sir.
                                                                                     8     A It is the statement -- it is a true statement         8        In paragraph 22, when you use the phrase "for
                                                                                     9 as it is stated in the -- my declaration, as stated in      9 this term," which term are you referring to?
                                                                                     10 my declaration.                                            10 A I would ask the court reporter to read back
                                                                                     11 Q So in your opinion, the module generating                11 my -- that would be my answer.
                                                                                     12 assembly might be, inter alia, a computer application or   12       STENOGRAPHIC REPORTER: Counsel, do you want
                                                                                     13 a web server. Is that true?                                13 me to read back?
                                                                                     14 A It means what it says, Ms. Lamkin, that                  14       MS. LAMKIN: I don't. Thank you.
                                                                                     15 including the mobile [sic] -- and I read as follows [as    15 BY MS. LAMKIN:
                                                                                     16 read]: Including that the mobile generating assembly       16 Q To be clear, then, in paragraphs 21 and 22,
                                                                                     17 may be, inter alia, a computer application or a web        17 Mr. Rothschild, is it true that you are saying the
                                                                                     18 server running on a device.                                18 module generating assembly may be a computer application
                                                                                     19 Q Is that a true statement, sir?                           19 or web server, a file server, or other computing device?
                                                                                     20 A It is a true statement.                                  20 A I know you want, Ms. Lamkin, me to answer to
                                                                                     21 Q Thank you.                                               21 your questions which would call for speculation. My
                                                                                     22       Now, please turn to paragraph 22. At 22, you         22 answer is it is what it says in the declaration. I will
                                                                                     23 write [as read]: The specification is clear, at least a    23 not speculate.
                                                                                     24 POSITA, that any alleged function for this term is         24 Q Sir, I'm not asking you to speculate. I'm
                                                                                     25 performed by some hardware, such as a web server, file     25 asking you to read your own sworn declaration.
                                                                                                                                             22                                                           24
                                                                                     1 server, or other computing device.                          1         I'm asking you, in paragraphs 21 and 22, is it
                                                                                     2         Do you see that, sir?                               2 your opinion that the module generating assembly might
                                                                                     3     A I do.                                                 3 be a computer application or a web server running on a
                                                                                     4     Q Is that a true statement?                             4 device or a file server or other computing device?
                                                                                     5     A It is a correct statement as reported under           5      A My opinion, Ms. Lamkin, is as stated in those
                                                                                     6  paragraph     22 in Exhibit 1, as you defined Exhibit 1,   6  paragraphs,    which is part of the declaration of Leigh
                                                                                     7 which is, by the way, my declaration in support of the      7 Rothschild in support of the Plaintiff's Opening Claim
                                                                                     8 Plaintiff's Opening Claim Construction Brief.               8 Construction Brief, as you defined it, Exhibit 1.
                                                                                     9     Q Is the first sentence of paragraph 22 a true          9      Q I'll give you one more opportunity to answer
                                                                                     10 statement?                                                 10 the question, Mr. Rothschild.
                                                                                     11 A It is a correct statement, Ms. Lamkin.                   11        In paragraphs 21 and 22 of your sworn
                                                                                     12 Q And when you say "for this term," which term             12 declaration,  document number 31-4, is it your opinion
                                                                                     13 are you referring to?                                      13 that the module generating assembly may be a computer
                                                                                     14 A I don't understand the question. Could you               14 application or a web server running on a device or a
                                                                                     15 please repeat it?                                          15 file server or other computing device?
                                                                                     16 Q Yes.                                                     16 A If the court reporter would like to read back
                                                                                     17        First sentence in paragraph 22, you say [as         17 my testimony, as I previously answered this question
                                                                                     18 read]: The specification is clear, at least a POSITA,      18 twice, that would be my answer.
                                                                                     19 that any alleged function for this term is performed by    19 Q Okay. Thank you, Mr. Rothschild.
                                                                                     20 hardware.                                                  20        If we could please turn to Exhibit 2, the
                                                                                     21        When you say "this term," which term do you         21 asserted '860 patent.
                                                                                     22 mean?                                                      22 A I would like to add to that, if I would be
                                                                                     23 A I believe that would be the term that's to be            23 allowed, Ms. Lamkin.
                                                                                     24 construed by the court.                                    24 Q Please.
                                                                                     25 Q Which term, sir?                                         25 A Yes. Your question calls for speculation.
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                                                                                                                                  Transcript of Leigh Rothschild                                7 (25 to 28)

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                                                                                                                                               25                                                           27
                                                                                     1 And apparently, you want me to vary from what I said in      1 that section that you're referring to, it would make it
                                                                                     2 the declaration. And the declaration was carefully           2 much easier for me to provide additional testimony.
                                                                                     3 thought out by me after a lot of, you know, careful          3         MS. LAMKIN: If we could please go to
                                                                                     4 thought.                                                     4      Exhibit 1, paragraph 21.
                                                                                     5         I believe the declaration to be entirely             5         THE WITNESS: We have a lag again.
                                                                                     6 truthful and accurate, correct. And it is what it says,      6 BY MS. LAMKIN:
                                                                                     7 despite your questions that are calling upon me to           7      Q Okay. I'm referring specifically to lines 27
                                                                                     8 speculate. So I would like to have that in the record.       8  and  28, starting with "including."
                                                                                     9         MS. LAMKIN: If we could please turn to               9      A Give me a second to look at it, please.
                                                                                     10 Exhibit 2, the '860 patent.                                 10 Q Again, the language we're referring to is in
                                                                                     11        THE WITNESS: And for the record, the exhibit         11 your declaration, page 10, lines 27 to 28, where you
                                                                                     12 is not before me.                                           12 write "including that the module generating assembly may
                                                                                     13        I see it now. There's a lag.                         13 be, enter alia, a computer application or a web server
                                                                                     14        MS. LAMKIN: If the technician could please           14 running on a device."
                                                                                     15 turn to Column 2 of the '860 patent, right after            15        Do you see that, Mr. Rothschild?
                                                                                     16 the figures.                                                16 A As highlighted, I see it.
                                                                                     17 BY MS. LAMKIN:                                              17 Q Okay. So in your opinion, the module
                                                                                     18 Q Do you see that, Mr. Rothschild?                          18 generating assembly may be a computer application or a
                                                                                     19 A Could you ask me -- could you state what                  19 web server returning on a device; correct?
                                                                                     20 you're asking me to look at, Ms. Lamkin?                    20 A That is what it states, Ms. Lamkin.
                                                                                     21 Q If you could please turn to Column 2, lines 19            21 Q Okay. Now, with that in mind, could we please
                                                                                     22 to 22, which I will read into the record. "In at least      22 turn back to Exhibit 2, the '860 patent. In the
                                                                                     23 one embodiment, however, the module generating assembly     23 highlighted language, you write, "In at least one
                                                                                     24 is at least partially integrated within the computer        24 embodiment, however, the module generating assembly is
                                                                                     25 application, e.g., an interactive word processing           25 at least partially integrated within the computer
                                                                                                                                               26                                                           28
                                                                                     1 program."                                                    1 application."
                                                                                     2        Do you see that, sir?                                 2        Do you see that, sir?
                                                                                     3      A I do.                                                 3     A I do.
                                                                                     4      Q Do you have an understanding --                       4     Q Can you please explain how the module
                                                                                     5      A It helps, by the way, when your document              5 generating assembly, as a computer application, could be
                                                                                     6  person  highlights for me. It makes it quicker,             6 at least partially integrated within a computer
                                                                                     7 Ms. Lamkin. Appreciate that.                                 7 application? How do you have --
                                                                                     8      Q Do you have an understanding of what that             8     A Ms. Lamkin --
                                                                                     9 passage means in your patent?                                9     Q How do you -- sir, let me ask my question.
                                                                                     10 A Yes, I do.                                                10       How is it possible to have a computer
                                                                                     11 Q Can you please explain it?                                11 application integrated within a computer application?
                                                                                     12 A It means that [as read]: In at least one                  12 A First of all, it means what it says, as
                                                                                     13 embodiment, however, the mobile generating assembly is      13 provided in the specificity of patent number 9,054,860.
                                                                                     14 at least partially integrated within the computer           14       Now, I refer you to my declaration in
                                                                                     15 application, e.g., an interactive word processing           15 paragraphs 21 through 25. If one reads those
                                                                                     16 program.                                                    16 paragraphs, it's very clear that the construction that
                                                                                     17       In other words, it means what it says. It's           17 we are asking for, in terms of means plus function, is
                                                                                     18 the plain and ordinary meaning, as placed in the patent     18 the correct instruction and not the construction, as
                                                                                     19 application.                                                19 you're trying to, today, in today's deposition, to take
                                                                                     20 Q Do you recall, in paragraph 21 of your                    20 bits and pieces out of order, put them together, to come
                                                                                     21 declaration, where you write that the module generating     21 up with some disjointed construction that you'll present
                                                                                     22 assembly may be, inter alia, a computer application or a    22 to the court, as you have in your brief, which is
                                                                                     23 web server running on a device?                             23 totally erroneous, in my opinion, as I state here in my
                                                                                     24 A I would have to see that exhibit again. If                24 declaration, which is my declaration in support of the
                                                                                     25 your document person would be so kind as to highlight       25 plaintiff's opening claim.
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                                                                                                                                 Transcript of Leigh Rothschild                                  8 (29 to 32)

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                                                                                                                                      December 22, 2022
                                                                                                                                             29                                                                 31
                                                                                     1        Because it is very clear, Ms. Lamkin, in            1 same as the other two times. Your question is clearly
                                                                                     2  paragraphs    21  through  25, if one reads those, as the 2 defined by paragraphs 21 through 25, which will explain,
                                                                                     3 court will read, as you have read, as your experts have    3 absolutely, your question, for yourself and the court,
                                                                                     4 read, it's very clear that this is not a means plus        4 anyone that is reading this, you know, transcript of the
                                                                                     5 function claim, absolutely not, as we defined here, the    5 deposition. I'd be more than happy to read that into
                                                                                     6 reason that it's not. And if it was, there's function      6 the record.
                                                                                     7 that is provided.                                          7     Q In paragraph 21 of your declaration,
                                                                                     8        Now,   we  detailed  that very  clearly in          8  Exhibit 1, you also say that the module generating
                                                                                     9 paragraphs 21, 22, 23, 24, and 25. And your efforts to     9 assembly can be a web server running on a device;
                                                                                     10 take little pieces of little sentences and put them all   10 correct?
                                                                                     11 together to come up with some tortured claim              11 A I would need to have that highlighted. If the
                                                                                     12 construction that you're trying to present to the court 12 document person would be kind enough to do that, I can
                                                                                     13 is totally inaccurate.                                    13 refer to that statement -- that purported statement that
                                                                                     14       And   that is what  my  declaration  states. You    14 you just read.
                                                                                     15 may want to mischaracterize my declaration, as you're 15 Q Do you need the question again,
                                                                                     16 doing during today's deposition, and that is not          16 Mr. Rothschild?
                                                                                     17 correct. That is absolutely not what we're saying.        17 A I need it highlighted. There was a lag.
                                                                                     18 That's not what I said. It's very clear what I said in    18        So could you repeat the question? I want to
                                                                                     19 my declaration in paragraphs 21 through 25. I hope that 19 make sure the question matches with what I see on the
                                                                                     20 answers your question.                                    20 screen, Ms. Lamkin. I appreciate your kindness in this
                                                                                     21 Q It does, Mr. Rothschild -- does not,                    21 regard.
                                                                                     22 Mr. Rothschild, but I'll give you another opportunity.    22 Q Paragraph 21 of your declaration, you also say
                                                                                     23       Could you please explain how it's possible to       23 that the module generating assembly may be a web server
                                                                                     24 have a computer application partially integrated within   24 running on a device; correct?
                                                                                     25 a computer application?                                   25 A And I quote from what is highlighted now by
                                                                                                                                             30                                                                 32
                                                                                     1     A I testified that in paragraphs 21 through 25           1 the document person, [as read]: Including that the
                                                                                     2 in my declaration, that is explained. If you would like      2 mobile generating assembly may be, inter alia, a
                                                                                     3 me to read paragraphs 21 through 25 into the record so       3 computer application or a web server running on a
                                                                                     4 that you have it before you, I'd be more than happy to       4 device.
                                                                                     5 do that now. Just tell me when to start, Ms. Lamkin.         5     Q It's a yes-or-no question, sir. In paragraph
                                                                                     6     Q Mr. Rothschild, I'll give you one more                 6  21 of your declaration, do you say that the module
                                                                                     7 opportunity to answer the question that I'm asking. And      7 generating assembly may be a web server running on a
                                                                                     8 that is: How is it possible to have a computer               8 device?
                                                                                     9 application partially integrated within a computer           9     A I see that, and that is the statement that I
                                                                                     10 application?                                                10 made, Ms. Lamkin.
                                                                                     11 A If the court reporter would choose to read                11 Q The answer is yes, sir?
                                                                                     12 back my testimony, that would be my -- on this matter,      12 A The answer would be yes. That is the
                                                                                     13 as per your question, that would be my answer, for the      13 statement I made in the declaration, which would be, for
                                                                                     14 third time.                                                 14 the record, the Declaration of Leigh M. Rothschild in
                                                                                     15 Q You also say, in paragraph 21 --                          15 Support of the Plaintiff's Opening Claim Construction
                                                                                     16 A I'm sorry to interrupt. I didn't hear an                  16 Brief, Exhibit 1, as you defined it.
                                                                                     17 answer if the court reporter is going to read back my       17 Q Okay. If we could please turn back to
                                                                                     18 testimony.                                                  18 Exhibit 2, the same provision in Column 2. Again,
                                                                                     19 Q No.                                                       19 Column 2 of the '860 asserted patent, it says, "In at
                                                                                     20 A Sorry.                                                    20 least one embodiment, however, the module generating
                                                                                     21 Q The court reporter is not.                                21 assembly is at least partially integrated within the
                                                                                     22 A Oh, okay. I just wanted to put that in the                22 computer application, e.g., an interactive word
                                                                                     23 record.                                                     23 processing program."
                                                                                     24       So my answer is the same as the other two             24       Do you see that, sir?
                                                                                     25 times. I want it on the record that my answer is the        25 A No, I don't. It's not highlighted by your
                                                                                                                                    PLANET DEPOS
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                                                                                                                            Transcript of Leigh Rothschild                                   9 (33 to 36)

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                                                                                                                                 December 22, 2022
                                                                                                                                         33                                                                 35
                                                                               1 document person. If they could zoom, also, in on it,         1 clearly, what should be done.
                                                                               2 I'd appreciate it. Is it possible? Perfect.                  2         The claim -- we are, in my declaration, we are
                                                                               3         Could you repeat the question, Ms. Lamkin?           3 trying to provide a full explanation to your question,
                                                                               4      Q Am I accurately reading the text from Column 2        4 which is, in this case, for this particular claim
                                                                               5 of the '860 patent, "In at least one embodiment,             5 construction term, contained what's in Claim 21 through
                                                                               6 however, the module generating assembly is at least          6 25 -- claimed within paragraph, excuse me, 21 --
                                                                               7 partially integrated within the computer application,        7 correcting myself -- paragraph 21 through 25 which, if
                                                                               8 e.g., an interactive word processing program."               8 understood and read, would answer your question in
                                                                               9         Have I accurately read your patent, sir?             9 totality.
                                                                               10 A You accurately read that section of the                   10 Q If we could please turn to paragraph 25 of
                                                                               11 specification of the 9,054,860 patent, Column 2,            11 Exhibit 1.
                                                                               12 apparently line 19.                                         12 A Paragraph 25.
                                                                               13 Q Will you please explain, sir, how a web server            13 Q Do you see paragraph 25 highlighted,
                                                                               14 can be at least partially integrated within a computer      14 Mr. Rothschild?
                                                                               15 application?                                                15 A A bit of a lag, but I now do.
                                                                               16 A It is as it says, and it has the plain and                16        And thank you for zooming in, to the document
                                                                               17 ordinary meaning of the words, which are [as read]: In      17 person. Thank you.
                                                                               18 at least one embodiment, however, the mobile generating     18 Q I'm referring specifically to line 16,
                                                                               19 assembly is at least partially integrated within the        19 starting with "a POSITA." I'll read it into the record.
                                                                               20 computer application, e.g., an interactive word             20 [As read]: A POSITA would understand that the
                                                                               21 processing program.                                         21 corresponding structure for any alleged function is
                                                                               22        Now, if you're referring to how that applies         22 module generating assembly 50, including as outlined in
                                                                               23 to this motion that's before the court for claim            23 Figure 7 and its corresponding description, namely '860,
                                                                               24 construction, I would refer you, again, to paragraphs 21    24 Column 7, line 48 to Column 8, line 62.
                                                                               25 through 25, where we talk about our construction versus     25        Can you explain what you mean by that
                                                                                                                                         34                                                                 36
                                                                               1 your construction of means plus function, where we           1 sentence, Mr. Rothschild?
                                                                               2 clearly show that this is a means plus function              2     A Certainly, Ms. Lamkin.
                                                                               3 absolutely -- where we clearly slow the definition of        3        Right. So repeating where it says "a POSITA,"
                                                                               4 means plus function and explain the construction that        4 and I am defined as a POSITA -- right? -- a person of --
                                                                               5 we've taken upon, that we've asserted or that we are         5 right. Right. That I would understand -- right, that I
                                                                               6  asking   the court  to validate, we're asking  the court to 6 would understand, as POSITA, that the corresponding
                                                                               7 validate.                                                    7 structure for any alleged function is a module
                                                                               8     Q I'll give you one more opportunity to answer           8 generating assembly, clearly as outlined in Figure 7.
                                                                               9 the question that I've asked, sir. Can you please            9        So we're referring you, Ms. Lamkin --
                                                                               10 explain how a web server running on a device can be at      10 referring the court, I should say, in this declaration,
                                                                               11 least partially integrated within a computer                11 to Exhibit [sic] 7, where we clearly, in addition to
                                                                               12 application?                                                12 Exhibit 7, with Exhibit 7 and in addition to Exhibit 7,
                                                                               13 A The words -- my answer is that the words are              13 clearly show function, clearly show function as part of
                                                                               14 clearly defined in the specificity. And then there's        14 the means plus function claim construction, which is a
                                                                               15 additional support for the claim construction that we're 15 different construction, by the way, than you're taking.
                                                                               16 now talking about in paragraphs 21 through 25 in my         16       So we are pointing you to Exhibit 7 here as
                                                                               17 declaration.                                                17 one place where the court could see function in terms of
                                                                               18        If you would like, Ms. Lamkin, I'd be more           18 the claim.
                                                                               19 than happy to read that explanation on 21 -- excuse me, 19           MS. LAMKIN: Could we please turn to Figure 7
                                                                               20 those paragraphs 21 through 25 into the record, which 20 in the '860 patent, Exhibit 2? I'm sorry for not
                                                                               21 would, I believe, answer your question.                     21 being more clear to the technician. Exhibit 2,
                                                                               22        The question is fragmented and, therefore,           22 please. Correct. Thank you.
                                                                               23 could   be not answered    in partial. Again, I believe     23       And then just above -- just -- thank you very
                                                                               24 you're taking little bits and pieces and trying to come     24 much.
                                                                               25 up with a distorted claim construction, which is not,       25 BY MS. LAMKIN:
                                                                                                                               PLANET DEPOS
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                                                                                                                         Transcript of Leigh Rothschild                                   10 (37 to 40)

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                                                                                                                              December 22, 2022
                                                                                                                                     37                                                                   39
                                                                               1     Q Where is the module generating assembly 50 in        1        MS. LAMKIN: If we could please turn back to
                                                                               2  Figure  7 of the '860 patent, Mr. Rothschild?             2     Columns   7 and 8 in the '860 patent?
                                                                               3     A Could you repeat the question?                       3 BY MS. LAMKIN:
                                                                               4     Q Where is module generating assembly 50 in            4     Q So just by way of reminder, Mr. Rothschild,
                                                                               5 Figure 7 of the '860 patent?                               5 you've cited Column 7, starting at line 48, to Column 8,
                                                                               6     A Well, referring to the drawing, it is, as is         6 going to line 62; correct?
                                                                               7 stated, Ms. Lamkin, it's self-evident.                     7     A I have not cited it, to the best of my
                                                                               8     Q Your testimony, sir, is that it's self-evident       8  knowledge,    in today's testimony. It is cited in the
                                                                               9 that module generating assembly 50 is in Figure 7?         9 declaration, paragraph 25, as you've defined it,
                                                                               10 A My testimony is the exhibit as -- the exhibit           10 Exhibit 1.
                                                                               11 is as it was published in my declaration, as Figure 7.    11       MS. LAMKIN: If we could highlight at
                                                                               12 Nothing more, nothing less.                               12 Column 7, line 60 to 66, please.
                                                                               13 Q I'll ask the question one more time,                    13 BY MS. LAMKIN:
                                                                               14 Mr. Rothschild. Can you please explain where module       14 Q You see that language, Mr. Rothschild?
                                                                               15 generating assembly 50 is depicted in Figure 7 of the     15 A No, I don't. It's a teeny little -- it needs
                                                                               16 '860 patent?                                              16 to be zoomed by the document person.
                                                                               17 A My answer is that Figure 7, as was reproduced           17       I do see it now.
                                                                               18 in my declaration, is as it stands, is as it was          18 Q That provision is within the section that
                                                                               19 published, and is self-explanatory.                       19 you've cited in your declaration --
                                                                               20        MS. LAMKIN: If we could please turn to             20 correct? -- Column 7, 48 to 8, 62?
                                                                               21 Exhibit 2, Column 7.                                      21 A It's not fully highlighted, I would point out.
                                                                               22 BY MS. LAMKIN:                                            22 Q I'm only asking you, sir, if the parts we have
                                                                               23 Q In your declaration -- and if you need to               23 highlighted, Column 7, line 60 to 66, is a subset of the
                                                                               24 switch back, Mr. Rothschild, that's fine.                 24 section that you cited in your declaration, 7, 48 to 8,
                                                                               25        In your declaration, paragraph 25, you cite --     25 62.
                                                                                                                                     38                                                                   40
                                                                               1      A Well, the documents, Ms. Lamkin, are not --         1      A Could you scroll -- could you scroll the
                                                                               2 excuse me for interrupting, by the way. The document       2 patent, please? Very hard when you're not working with
                                                                               3 you're referring to is not on the screen.                  3 the document in front of you, Ms. Lamkin.
                                                                               4         MS. LAMKIN: Would you please turn back to          4         I point out for the record --
                                                                               5      Exhibit 1, paragraph 25?                              5      Q It's in the Chat, sir. You're welcome to
                                                                               6 BY MS. LAMKIN:                                             6 download it. I have provided the actual document to you
                                                                               7      Q Do you see in paragraph 25 where you cite           7 in the Chat, and you're more than welcome to download it
                                                                               8 Column 7, line 48 to Column 8, line 62?                    8 and hold it in your hand.
                                                                               9      A If you could highlight just that particular         9      A Thank you for that courtesy.
                                                                               10 section, please.                                          10        Could you repeat the question?
                                                                               11        I do see that.                                     11 Q Yes. Does Column 7, line 60 to 66, fall
                                                                               12     Q   Okay. And is it your testimony that the           12 within your citation of Column 7, line 48 to Column 8,
                                                                               13 module generating assembly corresponding structure is     13 line 62?
                                                                               14 contained within Column 7, line 48 to Column 8, line 62   14 A With that, yes, I believe that it would be the
                                                                               15 in the '860 patent?                                       15 case.
                                                                               16 A My testimony is that, as contained in my                16 Q Okay.
                                                                               17 declaration, paragraph 25, that the module generating     17 A Yes.
                                                                               18 assembly 50, including as outlined in Figure 7, and its   18 Q I'm going to read the highlighted section into
                                                                               19 corresponding description, namely '860/7:48-8:62, that    19 the record. "In addition, the module generating
                                                                               20 was what we put in the declaration. That is what is       20 assembly may be at least partially integrated within a
                                                                               21 correct.                                                  21 computer application such as an interactive word
                                                                               22        And as I said before and testified to before,      22 processing program, as a feature, option, or plug-in for
                                                                               23 Exhibit   7, in addition to additional support that we    23 example."
                                                                               24 provided, as the declaration clearly shows, that there    24        Do you see that, Mr. Rothschild?
                                                                               25 is functionality in terms of the claim construction.      25 A I do.
                                                                                                                             PLANET DEPOS
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                                                                                                                           Transcript of Leigh Rothschild                                   11 (41 to 44)

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                                                                                                                                December 22, 2022
                                                                                                                                        41                                                              43
                                                                               1     Q Okay. So if the module generating assembly is            1 I believe that I did, yes.
                                                                               2  a computer  application, as you state  in your                2     Q So you believe that the last time you reviewed
                                                                               3 declaration, how can a computer application be at least        3 the IPR was many years ago?
                                                                               4 partially integrated within a computer application?            4     A Yes. That would be correct.
                                                                               5     A I believe we explained, to answer your                   5     Q Okay. In paragraph six, the last line is,
                                                                               6 question, the claim construction, in my declaration, our 6 "Plaintiff is presently the exclusive assignee of the
                                                                               7 position on claim construction in paragraphs -- in terms 7 Patent-in-Suit."
                                                                               8 of the means plus function claim that you're asking to         8         Do you see that, sir?
                                                                               9 be construed, asking the court to be construed, in             9     A I do.
                                                                               10 paragraphs 21 through 25.                                     10 Q Is that a true statement?
                                                                               11       I would point out that there's an introduction          11 A To the best of my knowledge, that is a true
                                                                               12 in paragraph 20, but the substance is in paragraph 21 to 12 statement.
                                                                               13 25. If we had time, which I don't believe we do now,          13 Q Okay. Where did you get the information in
                                                                               14 I'd be happy  to read that  into the  record.  And that       14 that sentence, "Plaintiff is presently the exclusive
                                                                               15 would be the answer.                                          15 assignee of the Patent-in-Suit"?
                                                                               16       And that citation, that reading would be the            16 A From attorneys, from counsel.
                                                                               17 answer to your question, as opposed to the disjointed         17 Q Did you draft that sentence in your
                                                                               18 sentences and fragments that you've been presenting           18 declaration?
                                                                               19 today to try to put together in some kind of disjointed       19 A I did not draft it, but reviewed it and signed
                                                                               20 fashion, to prove  out a tortured   claim   construction that 20 the declaration accordingly.
                                                                               21 the defendant, that your client is taking upon                21 Q How much of your declaration -- sorry, sir.
                                                                               22 themselves.                                                   22 How much of your declaration did you personally draft?
                                                                               23       MS. LAMKIN: If we could please turn to page             23 A I did not draft the declaration. I reviewed
                                                                               24 three of Mr. Rothschild's declaration, Exhibit 1?             24 the declaration.
                                                                               25       Thank you.                                              25 Q Your attorney drafted your declaration for
                                                                                                                                        42                                                              44
                                                                               1 BY MS. LAMKIN:                                                1 you?
                                                                               2      Q Do you see the first line on page three of             2     A That would be correct.
                                                                               3 your declaration, Mr. Rothschild, where you say               3     Q On paragraph eight -- do you see paragraph
                                                                               4 "Moreover, the Asserted Claims were challenged in an          4 eight?
                                                                               5 IPR, but the IPR was not instituted"? Did you see -- do       5     A I now inform you, Ms. Lamkin, and all parties,
                                                                               6 you see that?                                                 6  that it's now 5:00. As we reported earlier, and as I
                                                                               7      A I thought you said page -- what paragraph,             7 notified my counsel to notify you with great
                                                                               8 please?                                                       8 specificity, both orally and in writing, on several
                                                                               9      Q Line one --                                            9 occasions, unfortunately, I have a hard stop at 5:00, a
                                                                               10 A What paragraph?                                            10 previous commitment that I can't change.
                                                                               11 Q Line one, page three, just above paragraph                 11       But I also would like to inform you,
                                                                               12 six.                                                         12 Ms.  Lamkin,  that I'm more than happy, before any
                                                                               13 A So paragraph five.                                         13 deadlines are due, to -- if allowed by the rules, to sit
                                                                               14        I see the statement, Ms. Lamkin. And I read           14 down with you again to complete this deposition, if
                                                                               15 it as follows: "Moreover, the Asserted Claims were           15 allowed.
                                                                               16 challenged in an IPR, but the IPR was not instituted."       16       MS. LAMKIN: Our responsive brief is due
                                                                               17 Q How do you know the IPR was not instituted,                17 tomorrow, under the court's order, Mr. Rothschild.
                                                                               18 Mr. Rothschild?                                              18 So unless you want to sit tomorrow morning, which
                                                                               19 A I was informed of such by my counsel at the                19 I'm happy to do, if you would like to sit tomorrow
                                                                               20 time.                                                        20 morning, then we can continue.
                                                                               21 Q When was the time?                                         21       THE WITNESS: I would be more than happy to
                                                                               22 A I do not recall with specificity.                          22 talk about scheduling with counsel, not with you,
                                                                               23 Q Did you review the IPR when drafting your                  23 Ms. Lamkin. And my counsel, I am sure, would
                                                                               24 declaration?                                                 24 inform you of my availability.
                                                                               25 A I believe I did. It was many years ago. But                25       MS. LAMKIN: You do not know whether or not
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                                                                                                                              December 22, 2022
                                                                                                                                       45                                                           47
                                                                               1 you are available tomorrow morning, Mr. Rothschild?        1 State of Maryland
                                                                               2      THE WITNESS: I need to talk to counsel,               2 Baltimore City
                                                                               3 Ms. Lamkin. Do you want to ask me again?                   3      I, Dawn A. Hillier, a Notary Public of the State
                                                                               4      MS. LAMKIN: Okay. And I just want to make             4 of Maryland, Baltimore City, do hereby certify that the
                                                                               5 sure you understand, Mr. Rothschild, that your             5 within-named witness personally appeared before me via
                                                                               6 client -- my client is being prejudiced by not             6 Zoom at the time and place herein set out, and after
                                                                               7 being able to ask you questions about your                 7 having been first duly sworn by me, according to law,
                                                                               8 declaration, which was not disclosed, and we will          8 was examined by counsel.
                                                                               9 move to strike. Do you understand that, sir?               9      I further certify that the examination was
                                                                               10 THE WITNESS: I choose to get my legal advice,             10 recorded stenographically by me and this transcript
                                                                               11 Ms. Lamkin, not from you. You don't represent me          11 is a true record of the proceedings. I further certify
                                                                               12 now or haven't represented me in the past. So I do        12 that I am not of counsel to any of the parties, nor an
                                                                               13 have legal counsel that I take advice from. With          13 employee of counsel, nor related to any of the parties,
                                                                               14 all due respect, Ms. Lamkin, I don't need your            14 nor in any way interested in the outcome of the action.
                                                                               15 legal advice. But thank you for offering it.              15     As witness my hand and seal this 29th day of
                                                                               16 MS. LAMKIN: Okay. This deposition is                      16 December 2022.
                                                                               17 concluded.                                                17
                                                                               18 STENOGRAPHIC REPORTER: Okay. Counsel,                     18
                                                                               19 regular time on the transcript?                           19
                                                                               20 MS. LAMKIN: No. I need a rush of the -- I                 20 _______________________________________
                                                                               21 need a rush of the rough now. And then how quickly        21 Dawn A. Hillier
                                                                               22 could you -- I don't want to make you work on             22
                                                                               23 Christmas weekend.                                        23 My Commission Expires August 14, 2026
                                                                               24 (Off the record.)                                         24
                                                                               25 STENOGRAPHIC REPORTER: Absolutely,                        25
                                                                                                                                       46
                                                                               1 absolutely.
                                                                               2    And, Mr. Palavan, did you also want a rough
                                                                               3 draft?
                                                                               4    MR. PALAVAN: Sure. Actually, no, we should
                                                                               5 be good. I don't need a rough.
                                                                               6    (The reading and signing of the deposition is
                                                                               7 not waived.)
                                                                               8    (At 5:02 p.m. the deposition was concluded.)
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